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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

1. BRANDIE SALAZAR-FOX,                         §
                                                §
         Plaintiff,                             §
                                                §                   CIV-19-794-PRW
V.                                              § CIVIL ACTION NO. _______________
                                                §
1. COX COMMUNICATIONS and                       §
2. COXCOM, LLC                                  §
                                                §
         Defendants.                            §


                         DEFENDANTS’ NOTICE OF REMOVAL

TO:      Clerk of Court
         United States District Court
         For the Western District of Oklahoma
         200 N.W. 4th Street
         Oklahoma City, OK 73102

         Clerk of the District Court of Oklahoma County
         320 Robert S. Kerr, Room 409
         Oklahoma City, OK 73102

         Mark E. Hammons
         Amber L. Hurst
         Kristin E. Richards
         HAMMONS, GOWENS, HURST & ASSOCIATES
         325 Dean A. McGee Avenue
         Oklahoma City, Oklahoma 73102

         Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendants, Cox Communications

and CoxCom LLC d/b/a Cox Communications Oklahoma (collectively “Defendants”),

hereby remove this action from the District Court of Oklahoma County, Oklahoma,

where it was filed as Cause No.       CJ-2019-413, styled Brandie Salazar-Fox v. Cox

Communications et al., to the United States District Court for the Western District of


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Oklahoma. An index of the documents being filed with this Notice is attached hereto as

Exhibit 1.

         As the grounds for removal, Defendants state as follows:

         1.      On July 24, 2019, Plaintiff, Brandie Salazar-Fox (“Plaintiff” or “Salazar-

Fox”), filed an original petition in the District Court of Oklahoma County, State of

Oklahoma, which is located within the Western District of Oklahoma.               A copy of

Plaintiff’s Petition is attached hereto as Exhibit “2.”

         2.      Salazar-Fox served her Petition and a summons on Defendants’ registered

agent, Corporate Service Company, by certified mail on July 29, 2019. A true and

accurate copy of process is attached as Exhibit “3.” These attached documents constitute

all “process, pleadings, and orders” served upon Defendants in the state court action. 28

U.S.C. § 1446(a). Defendants have not yet filed an answer or other responsive pleading

to Plaintiff’s Petition.

         3.      Removal of this civil action is proper based on federal question jurisdiction

under 28 U.S.C. § 1331 and § 1441(a), which provides that “any civil action brought in a

state court of which the district courts of the United States have original jurisdiction, may

be removed by the defendant or the defendants.” Federal question jurisdiction exists

because Plaintiff’s claims pursuant to the Americans with Disabilities Act (“ADA”) arise

under federal law. See Petition, ¶¶ 3, 6, 26, and 27; see also Rivet v. Regions Bank, 522

U.S. 470, 475 (1998) (federal jurisdiction exists when a federal question is presented on

the face of plaintiff’s complaint); Caterpillar Inc. v. Williams, 482 U.S. 386, 392, 107 S.



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Ct. 2425, 96 L. Ed. 2d 318 (1987) (defendant may remove a state court action to federal

court if such an action could have been filed in the federal court originally).

         4.      Removal of the entire case is appropriate because this court has original

jurisdiction over Plaintiff’s ADA claim and may exercise supplemental jurisdiction over

Plaintiff’s remaining state law claim pursuant to 28 U.S.C. § 1367(a). See also 28 U.S.C.

§ 1441(c) (explaining that when non-removable claims are joined with removable claims,

“the entire case may be removed and the district court may determine all issues therein”).

         5.      Venue is proper in the Western District of Oklahoma, under 28 U.S.C. §

1441(a) because, under 28 U.S.C. § 116(c), this District embraces Oklahoma County,

Oklahoma, where Salazar-Fox filed the State-Court Action. Therefore, this civil action is

properly removed to this District and Division.

         6.      Promptly upon the filing of this Notice of Removal, Defendants will file a

Notice of Filing Notice of Removal, with a copy of the Notice of Removal with the

Circuit Court of Oklahoma County, Oklahoma, and will serve a copy thereof on Plaintiff

through her counsel, in accordance with 28 U.S.C. § 1446(d).

         7.      This Notice of Removal is timely because it is filed within thirty (30) days

from the date Defendants received a copy of the Petition. See 28 U.S.C. § 1446(b).

         8.      In accordance with LCvR 81.2, Fed. R. Civ. P. 81, and 28 U.S.C. §

1446(a), copies of all process and pleadings previously served upon Defendants,

including a copy of the state court docket sheet, are attached hereto as Exhibits 1 through

4. A copy of the Federal Civil Cover Sheet is attached hereto as Exhibit 5.



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         9.      Pursuant to 28 U.S.C. § 1446(a), Defendants attach the following

documents, which comprise all process, pleadings, and orders served on Defendants in

this action, to this Notice of Removal:

         •       Index of Documents Being Filed (Exhibit 1)

         •       Plaintiff’s Original Petition (Exhibit 2)

         •       All Executed Process (Exhibit 3)

         •       State Court Docket Sheet (Exhibit 4)

         •       Federal Civil Cover Sheet (Exhibit 5)

         10.     Should Salazar-Fox seek to remand this case to state court, Defendants

respectfully request permission to brief and argue the issue of this removal prior to any

order remanding this case. In the event the Court decides remand is proper, Defendants

ask that the Court retain jurisdiction and, if the Court deems it appropriate, certify any

remand order for interlocutory review by the Court of Appeals, pursuant to 28 U.S.C. §

1292(b).

         11.     There are no motions pending before the Oklahoma County District Court

in this matter, nor are any hearings currently set.

         WHEREFORE, Defendants respectfully remove this action to this Court pursuant

to 28 U.S.C. §§ 1331, 1441 and 1446. Defendants also request all other relief, at law or

in equity, to which they are justly entitled.




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DATED: August 28, 2019                         Respectfully submitted,



                                               By: /s/ Kristin M. Simpsen
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                                                   Attorneys for Defendants




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                              CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing and deposited a copy in the U.S. mail, postage prepaid, to the
following registrants:
       Mark E. Hammons
       Amber L. Hurst
       Kristin E. Richards
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                                         s/ Kristin M. Simpsen
                                         Kristin M. Simpsen




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